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UNlTED STATES OF ANIERICA

BR|AN L. FRENCH
Ned L. Germanv. FPD
Defense Attorney
200 Jefferson Avenue, Suite 200
Memphis, TN 38103

 

JUDGN|ENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count1 of the indictment on |Vlarch 10, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Title & section MMW_._C>_®M Offense Numberjsj
Concluded
18 U.S.C. § Possession of Child Pornography 07/20/2004 1

2252(3)(4)(3)

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Heform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

IT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 9/22/1981 June 08, 2005
Deft’s U.S. lV|arsha| No.: 19802-076

Defendant’s |Vlailing Address:
720 Davis Road
Camden, TN 38320

 

- ‘ J. DAN|EL`BREEN
lTEo sTATEs DlsTRlcT Juer

June l , 2005l

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Case No: 2:04CR20347-B Defendant Name: Brian L. FRENCH Page 2 of 5

lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 37 Months.

The Court recommends to the Bureau of Prisons:

That the defendant

participate in the Sex Offender Treatment Program at FCi Butner
in North Caro|ina.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UNlTED STATES MARSHAL
By:

 

Deputy U.S. |Viarshai

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Case No: 2:04Cl=i20347-B Defendant Name: Brian i_. FHENCH Page 3 of 5

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

Thel defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state

or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVISION

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ail inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:04CFi20347-B Defendant Name: Brian L. FRENCH Page 4 of 5

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment.

ADDITIONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) The defendants employment and change of address must be approved by the probation officer.

2) The defendant shall participate in a specialized sex offendertreatment program that may include
the use of a piethysmograph, a poiygraph, or other assessment toois.

3) The defendant shall refrain from purchasing, possessing, or using any sexually stimulating or
sexually oriented books, magazines, filmsl videos, computer programs, or any other media for
portrayal of the same.

4) The defendant shall refrain from using any sexually oriented telephone numbers or services.

5) The defendant shall have no unsupervised contact with children or adolescents or be involved
in any social activities that give him control over children or adolescents.

6) The defendant shall not possess, or use, a computer with access to any “on~iine computer
service” at any location (including employment) without the prior approval of the probation officer.
This includes any internet Service providerl bulletin board system, or any other public or private
network or e~mail system.

7) The defendant must abide by an evening curfew as set by the probation officer.

8) The defendant’s place of residence may not be in close proximity to parks, playgrounds, public
schoois, or other locations frequented by children.

9) The defendant shall cooperate in the collection of DNA as directed by the probation officer.

10) The defendant shall participate in drug testing and treatment; and mental health counseling and
treatment, as deemed appropriate by the probation officer.

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Case No: 2104CR20347-B Defendant Name: Brian L. FFtENCH Page 5 of 5

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall

Totai Assessment Totai Fine Totai Restitution
$100.00

 

The Speciai Assessment shall be due immediatelyl

FiNE
No fine imposed

RESTITUT|ON
No Fiestitution was ordered.

   

UNlTED sTATE DISTRIC COURT - WESTERN DSTRIC OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CR-20347 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
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Memphis7 TN 38103

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

